Case 1:18-cv-05391-SCJ Document 159-8 Filed 12/16/19 Page 1of 3

Exhibit H
Case 1:18-cv-05391-SCJ Document 159-8 Filed 12/16/19 Page 2 of 3

DECLARATION UNDER PENALTY OF PERJURY
PURSUANT TO 28 U.S.C. § 1746

. My name is Charlesetta Young. I am over eighteen years of age and
competent to testify to the matters contained herein.

- Tam a resident of Chatham County in Georgia and my residence address is
2061 E. 42™ Street, Savannah, GA, 31404.

- The last time I voted was a long time ago. I believe it was before 1998 but I
do not remember for sure. I have not voted since then because of what
happened when I voted.

- I can read, but I need help using the voting machines.

. When it was my turn to vote, I asked the poll worker to help me. I told her I
wanted to vote for a certain candidate and asked her to help me vote for them.
Instead, the person voted for a different candidate. I felt like she thought that
I couldn’t read.

. I told her that she had chosen the wrong person and she just told me that she
needed to help the next person. She said that I needed to move along.

. I was so angry. Instead of helping me like she she was supposed to, the poll
worker didn’t listen to me. It really hurt me that the poll worker assumed that
because I needed help, I couldn’t read.

. I didn’t want to cause trouble, so I left. But I was so angry and so hurt that I

never went back to vote.
Case 1:18-cv-05391-SCJ Document 159-8 Filed 12/16/19 Page 3 of 3

9. I would like to vote again in the future if someone is able to help me vote for
my candidate.

10. 1 understand that I am on a list of voters who will be purged. I have not
received a notice from the Secretary of State about the purge or my voter
registration. I have not moved or updated my voter registration. How was I
supposed to know that I was going to be purged? I don’t want to be removed
from the voting rolls.

11. I give this Declaration freely, without coercion, and without any expectation
of compensation or other reward.

12. I understand that in giving this Declaration, that I am not represented by a
lawyer. Nor has any lawyer asked me to be their client or to serve in anyway
as anything other than a witness in this litigation.

13. I declare under penalty of perjury that the foregoing is true and correct.

Further affiant sayeth not, this the )}S__ day of Treecath 1 2019.

Cailercle * Yr f “

Signature
Charlesetta Young

